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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
DESHAWN DANIELS,

                                   Plaintiff,
                 -against-                                             18 CIVIL 3717 (RA)

                                                                         JUDGMENT
DETECTIVE BRIAN TAYLOR, DETECTIVE
JAMES CLEARY, SERGEANT WESLEY
FRADERA, and DETECTIVE NEIL
MAGLIANO,

                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March 11, 2020, Defendants’ motion to

dismiss is granted; accordingly, this case is closed.


Dated: New York, New York
       March 27, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
